382 U.S. 900
    86 S.Ct. 234
    15 L.Ed.2d 155
    UNITED STATES, petitioner,v.UTAH CONSTRUCTION AND MINING CO.
    No. 440.
    Supreme Court of the United States
    November 8, 1965
    
      Acting Solicitor General Spritzer, Assistant Attorney General Douglas, Morton Hollander and David L. Rose, for the United States.
      Gardiner Johnson and Thomas E. Stanton, Jr., for respondent.
    
    
      1
      Petition for writ of certiorari to the United States Court of Claims granted. Case placed on the summary calendar and set for oral argument immediately following No. 439.
    
    